  Entered on Docket July 8, 2015
                                            Below is the Order of the Court.


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                                            Marc Barreca
                                            U.S. Bankruptcy Judge
                                            (Dated as of Entered on Docket date above)




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